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 8                                UNITED STATES DISTRICT COURT
 9                           EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                      1:09-cr-00270-LJO
12                        Plaintiff,                ORDER OF DETENTION FOLLOWING
                                                    REVOCATION OF PREVIOUSLY SET
13   vs.                                            CONDITIONS OF RELEASE
14   GUSTAVO VARGAS,
15                        Defendant.
                                            /
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17            After conducting a hearing on the defendant's own motion for
18   revocation of the previous order for release, the Court orders
19   the previous conditions of pretrial release revoked and this
20   defendant detained as a flight risk.
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22   IT IS SO ORDERED.
23   Dated:     August 24, 2009                  /s/ Sandra M. Snyder
     icido3                               UNITED STATES MAGISTRATE JUDGE
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